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              EXHIBIT C
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                                            Appendix: Proposed Microsoft Custodians

Name          Details
Charlie       Mr. Beard is a Microsoft witness who will testify on behalf of the government at the Evidentiary Hearing.
Beard
Rob           Mr. Cromwell is a Microsoft witness who will testify on behalf of the government at the Evidentiary Hearing.
Cromwell
Michael       Mr. Schechter is a Microsoft witness who will testify on behalf of the government at the Evidentiary Hearing.
Schechter
Jonathan      Microsoft identified Mr. Tinter as a custodian for Request Nos. 1 and 2 in Google’s First Subpoena. He was also a trial
Tinter        witness during the liability phase.
Shilpa        Microsoft identified Ms. Anand as a custodian for Request Nos. 1 and 2 in Google’s First Subpoena.
Anand
Mikhail       Mr. Parakhin was a trial witness during the liability phase. He is the former Head of Bing and Microsoft Advertising.
Parakhin      See Barry Schwartz, Mikhail Parakhin, Head of Microsoft Bing Search and Microsoft Advertising Steps Down, SEARCH
              ENGINE LAND (Mar. 26, 2024), available at https://searchengineland.com/mikhail-parakhin-head-of-microsoft-bing-
              search-and-microsoft-advertising-steps-down-438753.
Jordi Ribas   Mr. Ribas was a deponent during the liability phase. He is Corporate Vice President of Search & AI at Microsoft, and
              leads the product and engineering teams responsible for Copilot and Bing. He has spoken publicly about how total
              traffic to Bing’s suggested websites has grown since Bing incorporated OpenAI’s GPT technology into search. See
              Stephen Pastis, Bing’s Search Chatbot Is Increasing Click-Throughs to Websites Rather Than Stealing Traffic, Says
              Microsoft VP, FORTUNE (July 11, 2023), available at https://fortune.com/2023/07/11/microsoft-bing-ai-search-chatbot-
              increasing-website-click-throughs.
Satya         Mr. Nadella was a trial witness during the liability phase. He is the CEO of Microsoft. He has made numerous public
Nadella       statements and given trial testimony that are directly relevant to issues that will be litigated during the remedies phase.
Kevin         Mr. Scott is Microsoft’s Chief Technology Officer. In trial exhibit DX0680, he made the case for Microsoft’s deal with
Scott         OpenAI to Satya Nadella and Bill Gates.
Mustafa       Mr. Suleyman is CEO of Microsoft AI. He is directly above Mr. Cromwell in Microsoft’s organizational charts, and
Suleyman      heads Microsoft’s consumer AI efforts, including Copilot. He has made numerous public statements about the future of
              Search and AI. See, e.g., Nilay Patel, Microsoft AI Chief Mustafa Suleyman Says Conversational AI Is the Next Web
              Browser, THE VERGE (Dec. 9, 2024), available at https://www.theverge.com/24314821/microsoft-ai-ceo-mustafa-
              suleyman-google-deepmind-openai-inflection-agi-decoder-podcast.
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Name       Details
Rangan     Mr. Majumder is Vice President of Search & AI at Microsoft. He reports up to Mr. Ribas. He has been involved in
Majumder   Microsoft’s efforts to incorporate AI functionality into Search for several years. See Microsoft’s AI Transformation,
           Project Turing and Smarter Search with Rangan Majumder, MICROSOFT RESEARCH (Mar. 25, 2020), available at
           https://www.microsoft.com/en-us/research/podcast/microsofts-ai-transformation-project-turing-and-smarter-search-
           with-rangan-majumder. His views on the potential of pretrained models to improve search quality were discussed at
           trial. See Trial Tr. 2737–38 (Parakhin).
